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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Washington

MARK HOFFMAN, on behalf of himself and all others
similarly situated,

 

Plaintiff(s)

Vv. Civil Action No. 3:19-cv-05960-JRC

HEARING HELP EXPRESS, INC.,

 

Defendant(s)

Smee ee ee ee ee ee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
Hearing Help Express, Inc.
c/o Illinois Corporation Service Company, Registered Agent
801 Adlai Stevenson Drive
Springfield, Illinois 62703

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Beth E. Terrell, WSBA #26759

TERRELL MARSHALL LAW GROUP PLLC
936 North 34th Street, Suite 300

Seattle, Washington 98103-8869
Telephone: (206) 816-6603

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COU)

    

 

Date: October 10. 2019

 

Signature of Clerk or Deputy Clerk
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) > OF
© IJ returned the summons unexecuted because ; Or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
